Case 1:05-cv-00326-LG-JMR Document76 Filed 08/14/08 Page 1 of 38

SHIFT TRAINING |

POLICY AND PROCEDURE DIRECTIVE

ON, 09 -26- O41. Kane Sre L7e.. RECEIVED a 15-MINUTE BLOCK
PRINT NAME
TRAINING ON POLICY AND PROCEDURES: Gifts and Favors; “DURING THE 1500-2300 HOUR

‘SHIFTS BRIEFING.

QOS,

"DEPUTY SIGNATYRE AND BADGE NUMBER -

SHIFT SUPER VISORS/INSTRUCTOR

+ GT’ KENNETH ROGERS #161

SGT. EARNEST THOMAS #285
SGT. EDDIE COLLINS #254

Case 1:05-cv-00326-LG-JMR Document76 Filed 08/14/08 Page 2 of 38-
SHIFT TRAINING

GENERAL ORDERS

ON 9- v- o*7, I LK ayer. San OLCE RECEIVED a 15- MINUTE BLOCK
PRINT NAME
TRAINING ON GENERAL ORDER #59: USE OF THE REAR SALLY PORT CONTROL AREA;

DURING THE 1500-2300 HOUR SHIFT BRIEFING

VE Eas,

oa SIGNATURE AND BADGE NUMBER

SHIFT SUPERVISORS/INSTRUCTOR
. SGT. KENNETH ROGERS #161. ~
’ SGT. EARNEST THOMAS #285
SGT. EDDIE COLLINS #254

Case 1:05-cv-00326-LG-JMR Document 76 Filed 08/14/08 Page 3 of 38
SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

eet:

- ON, 9-26-04, 1. ha AL JS POLzE RECEIVED a 15-MINUTE BLOCK
PRINT NAME CO oo
TRAINING ON POLICY AND PROCEDURES; Juvenile Inmates; DURING THE 1500-2300 HOUR

SHIFTS BRIEFING.

DHE 81

DEPUTY SIGNAPURE AND BADGE NUMBER

SHIFT SUPERVISORS/INSTRUCTOR
| SGT. KENNETH ROGERS #161
SGT. EARNEST THOMAS #285
Case 1:05-cv-00326-LG-JMR Document 76 Filed 08/14/08 Page 4 of 38
SHIFT TRAINING

GENERAL ORDERS

ON 9-19-69 . 1 jlant  Soerrt ___ RECEIVED a 15-MINUTE BLOCK
PRINTNAME . J oo
_ TRAINING ON GENERAL ORDER #27: NEWS MEDIA, DURING THE 1500-2300 HOUR SHIFT

> BRIEFING

VE Faas.

DypOTy SIGNATURE AND BADGE NUMBER

SHIFT SUPERVISORSANSTRUCTOR
SGT. KENNETH ROGERS #161

SGT. EARNEST THOMAS #285

SGT. EDDIE COLLINS #254
Case 1:05-cv-00326-LG-JMR Document 76 Filed 08/14/08 Page 5 of 38

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON, 9/75 OFT ja Lu So ctkR ‘RECEIVED a 15-MINUTE BLOCK

PRINT NAME .- . oe
TRAINING ON POLICY AND PROCEDURES, Communication: Internal & External;
DURING THE 1500-2300 HOUR SHIFTS BRIEFING. ,

an SIGNATURE AND BADGE NUMBER

. SHIFT SUPERVISORS/INSTRUCTOR
‘SGT. KENNETH ROGERS #161
-SGT. EARNEST THOMAS #285
SGT. EDDIE COLLINS #254
Case 1:05-cv-00326-LG-JMR . Document 76 Filed 08/14/08 Page 6 of 38 ©

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON, 9213-0 ane St OLtp RECEIVED a 15-MINUTE BLOCK -

PRINT NAME oo, . /
TRAINING ON POLICY AND PROCEDURES; SPECIAL NEEDS INMATES; DURING THE 1500-

* 2300 HOUR SHIFTS BRIEFING...

. VE Pf LS y :
ee SIGNA ATURE AND BADGE NUMBER

_ SHIFT SUPERVISORS/INSTRUCTOR
SGT. KENNETH ROGERS #161
SGT. EARNEST THOMAS #285
Case 1:05-cv-00326-LG-JMR Document 76 Filed 08/14/08 Page 7 of 38
SHIFT TRAINING

“POLICY AND PROCEDURE DIRECTIVE

_ ON, G-1A 7041 fea ae S TOLTE ___ RECEIVED a 15-MINUTE BLOCK
PRINT NAME -
TRAINING ON POLICY AND PROCEDURES; Emergency Hurricane Procedure; DURING |

THE 1500-2300 HOUR SHIFTS BRIEFING.

DME 281

sabe SIGNATURE / AND BADGE NUMBER

_ SHIFT SUPERVISORS/INSTRUCTOR
SGT. KENNETH ROGERS #161
SGT. EARNEST THOMAS #285
Case 1:05-cv-00326-LG-JMR Document 76 Filed 08/14/08 Page 8 of 38

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON. 9-11-64, I [ka we Sree = RECEIVED a [5- MINUTE BLOCK
PRINT NAME
“TRAINING ON POLICY AND PROCEDURES, SEARCH; DURING THE 1500-2300 HOUR SHIFTS

BRIEFING.

Lb 25)

_7 DEPUTYSHGNATURE AND BADGE NUMBER

SHIFT SUBERVISORS/INSTRUCTOR
- SGT. KENNETH ROGERS #161
SGT. EARNEST THOMAS #285
SGT. EDDIE: COLLINS 4254 .
Case 1:05-cv-00326-LG-JMR Document76 Filed 08/14/08 Page 9 of 38

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON, 9-10 -0F | a afte £ TOLCVUP - RECEIVED a 15-MINUTE BLOCK
: PRINT NAME ,
TRAINING ON: POLICY AND PROCEDURES; USE OF FORCE; DURING THE 1500-2300 HOUR

SHIFTS BRIEFING.

ALE (enas,

‘DE SPU § SIGNATURE AND BADGE NUMBER

A

- SHIFT SUPERVISORS/INSTRUCTOR
- SGT. KENNETH ROGERS #161

SGT. EARNEST THOMAS #285

~ SGT. EDDIE COLLINS #254
Case 1:05-cv-00326-LG-JMR Document 76 Filed 08/14/08 Page 10 of 38

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON, 9- 9-041 /~. Afel Cro L2F. RECEIVED a 15-MINUTE BLOCK
PRINT NAME ~~ .-
TRAINING ON POLICY AND PROCEDURES; INMATE UNIFORM AND HYGIENE ISSUANCE;

DURING THE 1500-2300 HOUR SHIFTS BRIEFING.

4 L Lol

_DRUTY SIGNATURE AND BADGE NUMBER

SHIFT SUPERVISORS/INSTRUCTOR

" - SGT. KENNETH ROGERS #161

SGT. EARNEST THOMAS #285

_” + §GT. EDDIE COLLINS #254

Case 1:05-cv-00326-LG-JMR Document 76 Filed 08/14/08 Page 11 of 38

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON, G-/79. I Jat SToez Co -_ RECEIVED a I5- MINUTE BLOCK.
PRINT NAME
TRAINING ON POLICY AND PROCEDURE, HURRICANE PROCEDURES; DURING THE

2300/0700 HOUR SHIFTS BRIEFING.

KEG a8

| ppp SIGNATURE AND E BADGE NUMBER

SHIFT SUPERVISORS/INSTRUCTOR
SGT. LESLIE MATHIS #228.

- SGT. DEDRI CALDWELL #314 -
SGT: NATHAN ELLSBERRY #231
_ Case 1:05-cv-00326-LG-JMR Document 76 Filed 08/14/08 Page 12 of 38 .

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SHIFT TRAININ G

POLICY AND PROCEDURE DIRECTIVE

ON, BACH Ka eu ds TOLTE RECEIVED a 15-MINUTE BLOCK
PRINT NAME. .
- TRAINING ON POLICY AND PROCEDURE, SEARCHING; DURING THE 2300/0700 HOUR

SHIFTS BRIEFING.

ELS ss 251

FBEPUTY SIGNAPORE AND BADGE NUMBER

| SHIFT SUPERVISORS/INSTRUCTOR |
SGT. LESLIE MATHIS #228
SGT. DEDRI CALDWELL #314
pealegey siUBIH fly
O18e SHOD BE6LO

SHOR Remote

SOMOVL FAISNAAAC

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x eacreoraers

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Case 1:05-cv-00326-LG-JMR Document 76 Filed 08/14/08 Page 14 of 38

HARRISON COUNTY SHERIFE’S DEPARTMENT
TRAINING ATTENDENCE RECORD

Lae Sracz€. - ATTENDED A TRAINING CLASS
. (NAME) -
TITLED How por qo RE A Hs STALE
ON 157" Dury 20 O47 ANDRECEIVED 4-09

-

TRAINING CREDIT HOUR (S)/ MINUTE (S).

CERTIFIED SIGNATURE:

" NAME OF CERTIFYING INDIVIDUAL:

“GRINT)

w

Case 1:05-cv-00326-LG:JMR Document 76 ~~ -Filed 08/14/08 - Page 15 of 38

HARRISON COUNTY SHERIFF’S DEPARTMENT
TRAINING ATTENDENCE RECORD __

fare Sroeve ATTENDED A TRAINING CLASS
(NAME)
TITLED OT Spray ILE CERTIFICATION
" we b2—
ON :247% Jowe. 20 O4 AND RECEIVED. i

_ TRAINING CREDIT HOUR (S) / MINUTE (S).

CERTIFIED SIGNATURE: - = C

pea

| NAME OF CERTIFYING INDIVIDUAL: |
(RINT) _ t

Case 1:05-cv-00326-LG-JMR Document 76 Filed 08/14/08 Page 16 of 38 ©

HARRISON COUNTY SHERIFE’S DEPARTMENT
TRAINING. ATTENDENCE RECORD

are -Srocre ATTENDED A TRAINING CLASS
(NAME)

TITLED Sexune Harassment

ON May gm 20 O°7 AND RECEIVED 3.00 noves .

_. TRAINING CREDIT HOUR (S)/ MINUTE (S).

- cmurinm xiao Lab biagge
|. NAME or cERIIFIING INDIVIDUAL: JEL Mean

(PRINT)

Case 1:05-cv-00326-LG-JMR Document 76 Filed 08/14/08 Page 170f38 |

-” WARRISON COUNTY SHERIFF’S DEPARTMENT
TRAINING ATTENDENCE RECORD

Kane Spocee ATTENDED A TRAINING CLASS
TILED frnsr- Ary A CPR

on. Aprrc 15 20 044 ANDRECEIVED 7.00 youn |

TRAINING CREDIT HOUR (S) / MINUTE (S).

‘CERTIFIED SIGNATURE:
“a

Cea

“NAME OF CERTIFYING INDIVIDUAL: _ Li ia LOG

Case 1:05-cv-00326-LG-JMR Document 76 Filed 08/14/08 - Page 18 of 38

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON 3/24/04,1 Z, AY Sto Cte RECEIVED a 15-MINUTE BLOCK
Se PRINT NAME : :
TRAINING ON, THE B - BLOCK FLOOR OFFICER POST ORDERS, DURING THE 2300-0700 HOUR

SHIFTS BRIEFING.

LL (Pp 251

DEPUTY SIGNATURE AND BADGE NUMBER

" SGT. BOBBY McLEMORR #236°
SHIFT SUPERVISOR / INSTRUCTOR

SGT. DEDRI CALDWELL #314.
SHIFT SUPERVISOR / INSTRUCTOR
Case 1:05-cv-00326-LG-JMR Document 76 Filed 08/14/08 Page 19 of 38

SHIFT TRAINING

_ POLICY AND PROCEDURE DIRECTIVE ©

ON 3/22/04, I I< Ate drolt lL RECEIVED a 15-MINUTE BLOCK
PRINT NAME > 7
TRAINING ON, THE A - BLOCK FLOOR OFFICER POST ORDERS, DURING THE 230020700 HOUR

- SHIFTS BRIEFING.

YL [- 254

DEPUTY SIGNATURE AND BADGE NUMBER

| SGT. BOBBY McLEMORE #236 oo y
_ SHIFT SUPERVISOR / INSTRUCTOR

___ SGT. DEDRI CALDWELL #314
_ SHIFT SUPERVISOR / INSTRUCTOR

s

42
Case 1:05-cv-00326-(G-JMR Document 76 Filed 08/14/08 Page 20 of 38

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

on32104,1 | Gine 5 poet RECEIVED a 15-MINUTE BLOCK

PRINT NAME :
TRAINING ON, THE A - BLOCK CONTROL OFFICER POST ORDERS, DURING THE 2300-0700

HOUR SHIFTS BRIEFING.

Vo (- 2s)

' DEPUTY SIGNATURE AND BADGE NUMBER

- SGT. BOBBY McLEMORE #236
SHIFT SUPERVISOR / INSTRUCTOR

SGT. DEDRI CALDWELL #314
"SHIFT SUPERVISOR / INSTRUCTOR
Case 1:05-cv-00326-LG-JMR Document 76 Filed 08/14/08 Page 21 of 38 ©

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON 03/17/04,I late Spoetwe __ RECEIVED A 15-MINUTE BLOCK
_ PRINT NAME

TRAINING, ON ACA STANDARD SEXUAL HARASSMENT, DURING THE 2300-0700 HO
SHIFTS BRIEFING 4 :

DEPUTY SIGNATURE AND BADGE NUMBER

SGT. WOULLARD #265
SHIFT SUPERVISORS/INSTRUG@TOR

‘SGT, DEDRI CALDWELL #314
SHIFT SUPERVISOR/INSTRUCTQR

“‘ : : 7 Fae
Case 1:05-cv-00326-LG-JMR Document 76 Filed 08/14/08 Page 22 of 38

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

on 03/16/04,1 dart Sroer€ RECEIVED A 15-MINUTE BLOCK.
PRINT NAME ,
- TRAINING, ON ACA STANDARD PERSONNEL SELECTION AND RETENTION, DURING THE

2300-0700 HOUR SHIFTS BRIEFING

YE (L as

DEPUTY SIGNATURE AND BADGE NUMBER

SGT. WOULLARD #265
SHIFT SUPERVISORS/INSTRUCTOR

SGT. DEDRI CALDWELL #314
SHIFT SUPERVISOR/INSTRUCTOR . ot
Case 1:05-cv-00326-LG-JMR Document 76 | Filed 08/14/08 Page 23 of 38

SHIFT TRAINING

- POLICY AND PROCEDURE DIRECTIVE

on 03/1504. fant Sroere RECEIVED A 15-MINUTE BLOCK
PRINT NAME

TRAINING, ON ACA STANDARD AFFIRMATIVE ACTION PLAN, DURING THE 2300-0700 HOUR

_ SHIFTS BRIEFING

VE (Ce 251

©DEPUTY SIGNATURE AND BADGE NUMBER

"SGT. WOULLARD #265 _
SHIFT SUPERVISORS/INSTRUCTOR

” SGT. DEDRI CALDWELL #314
* SHIFT SUPERVISOR/INSTRUCTOR - oo hot

fa
Case 1:05-cv-00326-LG-JMR Document 76 Filed 08/14/08 Page 24 of 38

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON 03/14/04, L. jla ree Sp Lee RECEIVED A 15-MINUTE BLOCK
PRINT NAME .
TRAINING, ON ACA STANDARD REVIEWING OF STAFFING REQUIREMENTS, DURING THE
. 2300-0700 HOUR SHIFTS BRIEFING

LO (f 2s!

DEPUTY SIGNATURE AND BADGE NUMBER

SGT. WOULLARD #265
SHIFT SUPERVISORS/INSTRUCTOR

"SGT. DEDRI CALDWELL #314
SHIFT SUPERVISOR/INSTRUCTOR
Case 1:05-cv-00326-LG-JMR Document 76 Filed 08/14/08 Page 25 of 38

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON 3/10/04, I jba nro Syocte | RECEIVED a 15-MINUTE BLOCK

PRINT NAME
TRAINING ON, THE CORRECTIONAL OFFICER POST ORDERS, DURING THE 2300-0700 HOUR

SHIFTS BRIEFING.

VR Cf- 2s)

DEPUTY SIGNATURE AND BADGE NUMBER

SGT. ROGERS #161.
SHIFT SUPER VISORS/INSTRUCTOR

SGT. WOULLARD #265 | .
SHIFT SUPERVISOR/INSTRUCTOR

- SGT. DEDRI CALDWELL #314
SHIFT SUPER VISOR/INSTRUCTOR
Case 1:05-cv-00326-LG6-JMR Document 76 Filed 08/14/08 Page 26 of 38

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON 3/09/04, I Mane Srecze "RECEIVED a 15 -MINUTE BLOCK
- PRINT NAME
TRAINING ON, THE BOOKING OFFICER POST, DURING THE 2300-0700 HOUR SHIFTS

BRIEFING.

Kinks as)

DEPUTY SIGNATURE AND BADGE NUMBER

SGT. ROGERS #161
SHIFT SUPERVISORS/INSTRUCTOR

SGT. WOULLARD #265 .
- SHIFT SUPERVISOR/INSTRUCTOR

"SGT. DEDRI CALDWELL #314
_ SHIFT SUPERVISOR/INSTRUCTOR
Case 1:05-cv-00326-LG-JMR Document 76 Filed 08/14/08. Page 27 of 38

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

onoai4io4,t Mant Sroeze 25) Received a 15 MINUTE BLOCK
OF TRAINING Discipline Procedure DURING THE 2200-0800 SHIFT BRIEFING.

Case 1:05-cv-00326-LG-JMR Document 76 Filed 08/14/08 Page 28 of 38

HARRISON COUNTY SHERIFE’S DEPARTMENT
TRAINING ATTENDENCE RECORD |

Kane Spocze ATTENDED A TRAINING CLASS

TITLED SiN &

on. Fe8 G2 20 0¢/ ANDRECEIVED 700 Hours

_ TRAINING CREDIT HOUR (S) / MINUTE (S).

. : - = SIGNATUR :

me Shel! ale, YO

NAME OF CERTIFYING INDIVIDUAL:

Case 1:05-cv-00326-LG-JMR Document 76 Filed 08/14/08 Page 29 of 38

HARRISON COUNTY SHERIFF’S DEPARTMENT
TRAINING ATTENDENCE RECORD

Kane Sroteze ATTENDED A TRAINING CLASS
(NAME) -

TITLED | Penson /Cere SEACH TRA iw tn C~

on Movenber. 4 2003 ANDRECEIVED fue Sav

TRAINING CREDIT HOUR (S) / MINUTE (S).

CERTIFIED SIGNATURE: PL 6 Z— -
: . a“ —

NAME OF CERTIFYING INDIVIDUAL: _
oe (PRINT) _
Case 1:05-cv-00326-LG-JMR Document 76 Filed 08/14/08 Page 30 of 38 -

Shift Training

On yo-17-03 ~ Kart Srocte received a 15 minute
Print Name
block of training on Employees & the Inmate Culture, during the

FANS ~ 9700 _ shift briefing.

VE as

Officers Signature Badge Number
Case 1:05-cv-00326-LG-JMR Document 76 Filed 08/14/08 Page 31 of 38

Memorandum Receipt

Date: L/ AG OS

VLE AIELWIGE.. received a copy of the memo generated by

= (Print Name)

-‘aptain Taylor’s Office titled Inmate Armbands dated January 17, 2005.

: fficers Signa

Case 1:05-cv-00326-LG-JMR Document 76 Filed 08/14/08 Page 32 of 38 .

Memorandum Receipt

Date: JO S/OY

I Aap JUG OHI BES received a copy of the memo generated by
(Print Name)

Captain Taylor's office titled Inmate Worker Yard Call dated October : 26, 2004.

Case 1:05-cv-00326-LG-JMR + ‘Document 76 Filed 08/14/08 Page 33 of 38:

Memorandum Receipt

‘pate: 109104

Tneeen Ech GE - received a copy of the memo generated by :
(Print Name) a . 7

‘Captain Taylor S offic ice titled ‘Securing cell Doors dated October 19, 2004.

Case 1:05-cv-00326-LG-JMR Document 76 Filed 08/14/08 Page 34 of 38°

Memorandum Receipt

ate: > 204

received a copy of the memo generated by
“Cnt Namie) a

ot ‘captain Taylor office titled Return of Food Carts dated October 19, 2004.

Officers Signati :
Case 1:05-cv-00326-LG-JMR Document 76 Filed 08/14/08 Page 35 of 38

Memorandum Receipt

Date; 2/75 ge%

__
I SAKLD WEL SE received a copy of General Order #51

(Print Name)

titled Computers, Data Entry, and Internet Use.

‘Case 1:05-cv-00326-LG-JMR ° Document 76. Filed 08/14/08 Page 360f38

Memorandum Receipt

pater DIS

CD PUES GE received a-copy of the memo generated by
(Print Name) te So

> Captain Taylor's office titied Escorting of Inmates dated October 19, 2004.

Case 1:05-cv-00326-LG-JMR Document 76 Filed 08/14/08 © Page 37 of 38
Memorandum Receipt

- Date: ID Dt OF

Gl eens SE__teceveda copy of the memo generated by
- (Print Name) ce a

vege Captain Taylor's office titled Inmate Worker Privileges dated October 19, 2004.

. Officers Signatur

Case 1:05-cv-00326-LG-JMR Document 76 Filed 08/14/08 Page 38 of 38

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

on, 098400. T7650 ALLYISE RECEIVED a 15-MINUTE BLOCK

PRINT NAME
TRAINING ON POLICY AND PROCEDURES; Juvenile Inmates; DURING THE 1500-2300 HOUR
SHIFTS BRIEFING.

’ SHIFT SUPERVISORS/AINSTRUCTOR

SGT. KENNETH ROGERS #161
SGT. EARNEST THOMAS #285
